Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 1 of 8
Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 2 of 8
Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 3 of 8
Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 4 of 8
Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 5 of 8
Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 6 of 8
Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 7 of 8
Case 19-12386 Doc 53-1 Filed 09/25/20 Entered 09/25/20 14:11:17             Desc Exhibit
 Sworn Statement of Craig R. Jalbert and declaration re electronic case f   Page 8 of 8
